AO 91 (Rev. 08/09) Criminal Complaint

 

FILED
CHARLOTTE, NC

UNITED STATES DISTRICT COURT DEC 2.0 2016
for the -
Western District of North Carolina US District Court
Western District of NC

United States of America )
v. )

(1) Omar CARRILLO-Villagrana, also known as ) Case No. 3:16-mj- YL Y
Christian Omar Santiago Vega, )
(2) Salvador MARTINEZ-Yanez, and )
(3) Beczanice Gegzemany SALAZAR-Camacho )

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of 2016 to the present

in the county of Mecklenburg in the

 

Western District of North Carolina

Code Section

 

, the defendant(s) violated:

Offense Description

21 U.S.C. 846, 841(a), 841(b)(1)(A) Conspiracy to possess with intent to distribute more than 500 grams of
methamphetamine and more than 5 kilograms of cocaine.

This criminal complaint is based on these facts:

sf Continued on the attached sheet.

Sworn to before me and signed in my presence.

Date: 12/20/2016

City and state: Charlotte, North Carelina

 

 

a Complainant’s signature

Dwayne Spears, HS! Task Force Officer
Printed name and title

Gf J on
LV

Judge’s signature

U.S. Magistrate Judge David S. Cayer

 

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Printed name and title

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ATTACHMENT A:
Affidavit in Support of Criminal Complaint and Arrest Warrants for

(1) Omar CARILLO-Villagrana, also known as Christian Omar Santiago Vega,
(2) Salvador MARTINEZ-Yanez, and (3) Beczanice Gegzemany SALAZAR-Camacho
I, Dwayne Spears, Detective with the Charlotte-Mecklenburg Police Department
(CMPD) and Task Force Officer (TFO) of the United States Department of Homeland Security,
U.S Immigration and Customs Enforcement, Homeland Security Investigations (HSI, being
duly sworn, state as follows:
BACKGROUND/INTRODUCTION

1. The information contained in this Affidavit is provided for the limited purpose of
establishing probable cause in support of a criminal complaint and arrest warrants for (1) Omar
CARILLO-Villagrana, also known as Christian Omar Santiago Vega, (2) Salvador MARTINEZ-
Yanez, and (3) Beczanice Gegzemany SALAZAR-Camacho. Therefore, I have not included
each and every fact known to me concerning this investigation.

2. Tam an investigator or law enforcement officer of the United States within the meaning
of Title 18, United States Code, Section 2510(7), that is, an officer of the United States who is
empowered to conduct investigations of, and to make arrests for, the offenses enumerated in
Title 8, 18, 19, 21, 31 United States Code and other related offenses. I have cighteen (18) years
of law enforcement experience. I am presently a sworn officer with the Charlotte-Mecklenburg
Police Department in Charlotte, North Carolina, currently assigned to the Covert Operations
Division, where I have been assigned since March of 2005. I am also currently assigned as a
TFO with the HSI Task Force, Narcotics and Bulk Cash Smuggling Group. I have conducted
eighty (80) or more narcotics investigations on both the state and federal level with the
Mecklenburg County District Attorney’s Office and the United States Attorney’s Office in

Charlotte, North Carolina.

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3. Through trainmg and experience, | have become familiar with the methods and
schemes employed by narcotics dealers to obtain, smuggle and distribute illegal narcotics. I have
also become familiar with and utilized a wide variety of investigative techniques, including the
use of pen registers, trap and trace devices, and wire communications intercepts. 1 am currently
one of the assigned case agents of the Organized Crime Drug Enforcement Task Force
(OCDETF) investigation. This OCDETF is comprised of agents of HSI, as well as
representatives from various federal, state, county, and city police agencies. This investigation
involves an organization primarily comprised of Mexican nationals involved in the smuggling
and distribution of cocaine, methamphetamine, and other narcotics to the Western Judicial
District of North Carolina, and elsewhere, and the transport of large amounts of U.S. currency
back to Mexico.

SYNOPSIS OF INVESTIGATION

4. On October 21, 2016, the investigative team interviewed a cooperating defendant
(“CD”) who has pleaded guilty to a drug trafficking conspiracy in this district. During the course
of this investigation, the CD has provided actionable intelligence that has resulted in the arrest of
a large-scale methamphetamine trafficker and the seizure of approximately 9 kilograms of
methamphetamine and 4 firearms. The cooperator’s information has been corroborated to the
extent possible through traditional investigative means, and none of his/her information has been
found to be false; thus, he is considered credible and reliable.

5. The CD outlined the overall structure of the organization for which he was apart and
identified Miguel NORONA-Gonzalez of 1720 Darbrook Drive, Charlotte, North Carolina, as
transporter, and Salvador MARTINEZ-Yanez as a large-scale distributor, both working at the

direction of Omar CARILLO-Villagrana.

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6. CARILLO-Villagrana has a previous federal from Detroit, Michigan (Docket Number
2:10-cr-20377-BAF-MAR), for Conspiracy to Distribute 500 Grams or More of Cocaine, for
which he was sentenced to 5 years of imprisonment and was then deported from the United
States.

7. MARTINEZ-Yanez has a prior conviction from 2012 in Mecklenburg County for
Attempted Trafficking in Schedule II controlled substances (Class G felony).

8. According to the aforementioned CD: CARILLO-Villagrana, whom I have confirmed
has a previous federal drug conviction from Michigan as a result of his involvement in a cocaine
distribution investigation, served a prison sentence of approximately 5 years before being
deported from the United States maintains sources of supply for methamphetamine and cocaine
in Mexico.

9. Following the interview with the CD, the CD lead investigators to NORONA-
Gonzalez’s residence where he recalled having seen NORONA-Gonzalez possess kilogram
quantities of methamphetamine in a freezer located in a storage room behind his house.
NORONA-Gonzalez was packaging the methamphetamine to take to one of CARILLO-
Villagrana’s distributors in Asheville, North Carolina.

10. The CD identified several vehicles as being utilized by NORONA-Gonzalez to
transport narcotics and United States currency, including two registered in his wife’s name. Law
enforcement observed one of the vehicles identified by the CD being operated by MARTINE7Z-
Yanez. The U.S. Drug Enforcement Administration has utilized a confidential source to conduct
two controlled purchases of narcotics from MARTINEZ-Yanez. During the second of those
purchases, MARTINEZ-Yanez was driving a vehicle on which the investigative team on

December 1, 2016, obtained authorization to use a car tracking device. Also, on December 1,

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2016, the investigative team conducted surveillance and followed MARTINEZ-Yanez as he
departed NORONA-Gonzalez’s residence.

11. On December 6, 2016, law enforcement observed CARILLO-Villagrana, NORONA-
Gonzalez, and MARTINEZ-Yanez meet at the Riviera restaurant on Albemarle Road in
Charlotte. During the course of their meeting, law enforcement received information from a
confidential informant (“CI #1”). (CI #1’s information has been corroborated to the extent
possible through traditional investigative means, and has led to the arrest of narcotics traffickers
and the seizure of narcotics; therefore, because his information has never been found to be
untruthful or unreliable, I submit that he/she is credible and reliable.) CJ #1 reported that
CARILLO-Villagrana, while meeting with NORONA-Gonzalez and MARTINEZ-Yanez,
introduced himself to CI #1 as “Christian,” provided CI #1 with a cellular telephone number, and
quoted CT #1 a price of $35,000 for a kilogram of cocaine.

12. On December 7, 2016, law enforcement utilized CI #1 to make a series of monitored
and recorded telephone calls to CARILLO-Villagrana to facilitate an undercover controlled
purchase of methamphetamine from CARILLO-Villagrana. During the course of the calls,
CARILLO-Villagrana agreed to provide CI #1 with a sample of methamphetamine and would
have his courier, who would be operating a white Nissan truck, make the delivery. This is
significant because NORONA-Gonzalez operated a white Nissan truck.

13. On December 7, 2016, law enforcement executed a search warrant issued by the
Honorable David S. Cayer, United States Magistrate Judge for the Western District of North
Carolina, at the Public Self Storage, Unit 142, located at 5301 Sharon Amity, Charlotte, North
Carolina, which is leased in NORONA-Gonzalez’s wife’s name. As a result of the search, law

enforcement seized approximately 5 kilograms of methamphetamine, 1 kilogram of cocaine and

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1 pound of marijuana.

14. Based on the aforementioned seizure, law enforcement conducted a knock and talk at
NORONA-Gonzalez’s residence and gained his cooperation with the investigation. Members of
the investigative team conducted a non-custodial interview of NORONA-Gonzalez, who stated
the following: He (NORONA-Gonzalez) worked at the direction of CARILLO-Villagrana and
had trafficked in excess of 50 kilograms of methamphetamine at CARILLO-Villagrana’s
direction. NORONA-Gonzalez had supplied MARTINEZ-Yanez with approximately 3
kilograms of methamphetamine and 5-6 kilograms of cocaine at CARILLO-Villagrana’s
direction. (I submit that, because the statement was against his own penal interest, NORONA-
Gonzalez’s confession is credible and reliable.)

15. While NORONA-Gonzalez was being interviewed, and in close proximity to the calls
with CI #1 arranging the controlled purchase, CARILLO-Villagrana made several attempts to
call NORONA-Gonzalez in what investigators believe were failed attempts to have NORONA-
Gonzalez deliver methamphetamine to CI #1.

16. During the course of the interview of NORONA-Gonzalez, law enforcement
established surveillance of SALVADOR-Yanez and Elizabeth Recillas HERNANDEZ at 2323
Milton Road, Charlotte, North Carolina. A short time later, investigators observed MARTINEZ-
Yanez remove a package from a truck -- which known to be outfitted with a non-factory installed
hidden compartment that had been previously utilized by MARTINEZ-Yanez to deliver
narcotics -- and take it inside the residence. A few minutes later, HERNANDEZ departed in the
same truck and law enforcement conducted a traffic stop. A subsequent consent search resulted
in the discovery and seizure of approximately 2 ounces of cocaine from the hidden compartment.

HERNANDEZ agreed to cooperate with law enforcement and granted investigators consent to

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search her residence. Agents seized $163,975 in U.S. currency as a result of the search and
transported HERNANDEZ to the Charlotte-Mecklenburg Police Department.

17.On December 13, 2016, law enforcement received information from a second
confidential informant (“CI #2”). (CD #2’s information has been corroborated to the extent
possible through traditional investigative means, and has led to the arrest of narcotics traffickers
and the seizure of narcotics; therefore, because his information has never been found to be
untruthful or unreliable, I submit that he/she is credible and reliable.) CI #2 stated that
MARTINEZ-Yanez had contacted CI #2 to discuss future narcotics transactions and agreed to
meet CI #2 that evening.

18. At approximately 6:30 pm, CI #2 and an undercover officer (UC) met with
MARTINEZ-Yanez and Beczanice Gegzemany SALAZAR-Camacho at a McDonald’s
Restaurant located in Salisbury, North Carolina. SALAZAR-Camacho served as an interpreter
between MARTINEZ-Yanez and CI #2 and the UC, translating the Spanish language to English
and the English language to Spanish for the parties. MARTINEZ- Yanez, through the services of
SALAZAR-Camacho, informed CI #2 and the UC that HERNANDEZ had been arrested and that
SALAZAR-Camacho would be assisting MARTINEZ-Yanez in the future then negotiated a
transaction involving 5 kilograms of cocaine to occur on December 18, 2016 for a price of
$36,500 per kilogram.

19. At the conclusion of the meeting, law enforcement followed MARTINEZ-Yanez and
SALAZAR-Camacho away and conducted a vehicle stop. MARTINEZ-Yanez was arrested for
outstanding warrants for trafficking in cocaine from York County, South Carolina, and a search
of their vehicle resulted in the seizure of approximately 1 ounce of cocaine and $12,000 in

United States currency. MARTINEZ-Yanez provided a post-Miranda statement that he had

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been in meetings with CARILLO-Villagrana but, due to his concems for the safety of his family,
refused to state in what capacity. SALAZAR-Camacho provided a post-Miranda confession that
she was to be paid $200 to translate what she knew to be a multi-kilogram cocaine transaction.
CONCLUSION

Based upon training, experience, and the facts of this investigation, I submit that there is
probable cause for a criminal complaint against, and arrest warrants for, Defendants (1) Omar
CARILLO-Villagrana, also known as Christian Omar Santiago Vega, (2) Salvador
MARTINEZ-Yanez, and (3) Beczanice Gegzemany SALAZAR-Camacho, for conspiracy to
possess with intent to distribute at least 500 grams of methamphetamine and at least five (5)
kilograms of cocaine, both Schedule JI controlled substances, in violation of Title 21, United
States Code, Sections 846, 841{a), and 841(b)(1)(A); therefore, I request that the Court issue the

same.

Zag

AFFIADE-TASK FORCE OFFICER DWAYNE SPEARS
HOMELAND SECURITY INVESTIGATIONS

AUSA Steven R. Kaufman has reviewed this Affidavit.
Subscribed and sworn to by me this 20" day of December 2016.

jG

THE HONORABLE DAVID S. CAYER—:
UNITED STATES MAGISTRATE JUDGE

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